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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
MARQUISA WINCE and MARY CANTWELL PLAINTIFFS
V. No. 4:20-cv-1278-DPM

JOHN THURSTON, in his official capacity
as the Secretary of State of Arkansas and his
official capacity as Chairman of the Arkansas
State Board of Election Commissioners, et al. DEFENDANTS
ORDER

The Court construes defendants’ motion to consolidate, Doc. 5, as
a motion to transfer and grants it. This case is a partial echo of 4:20-cv-
1274-BSM. Common questions of law and fact exist. This election-
related dispute is pressing, plus there’s a possibility of inconsistent
rulings if the cases remain before different judges. Judge Miller has
agreed to accept a transfer, and that would promote judicial economy.
Wince and Cantwell do not oppose transfer. The Court therefore
directs the Clerk to reassign this case to Judge Miller by chip exchange.

So Ordered.

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D.P. Marshall Jr.
United States District Judge

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